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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 11-cv-02285-NYW

CENTER FOR LEGAL ADVOCACY, d/b/a DISABILITY LAW COLORADO,
       Plaintiff,
v.
REGGIE BICHA, in his official capacity as Executive Director of the Colorado Department of
Human Services; and
RONALD B. HALE, in his official capacity as Superintendent of the Colorado Mental Health
Institute at Pueblo,

       Defendants.

                          MINUTE ORDER RE-OPENING CASE

Entered By Magistrate Judge Nina Y. Wang

       This matter comes before the court on the Unopposed Motion to Reopen Action for
Enforcement of Settlement Agreement (the “Motion”) [#82, filed June 13, 2018]. The
undersigned Magistrate Judge considers the Motion pursuant to 28 U.S.C. § 636(c), the Order of
Reference for all purposes dated February 21, 2012 [#44], and the Reassignment dated
November 19, 2015 [#58].

        Plaintiff Center for Legal Advocacy d/b/a Disability Law Colorado filed a similar motion
on October 28, 2015, [#53], which the court granted insofar as it found good cause to reopen this
matter to allow the court to consider whether the Settlement Agreement had been breached. See
[#62]. Although the Parties ultimately resolved the previous dispute, see [#80], the court finds
reopening this matter warranted under the circumstances, as it appears that the Parties agree to
reopen this matter, but disagree as to whether Defendants have breached the Settlement
Agreement. See [#82 at 2].

       Accordingly, IT IS ORDERED that:

       (1)     Plaintiff’s Unopposed Motion to Reopen Action for Enforcement of Settlement
               Agreement [#82] is GRANTED IN PART, insofar as it seeks to reopen the case
               to allow the court to consider whether the Settlement Agreement has been
               breached and whether to order enforcement, and RESERVED IN PART as to
               whether Defendants have, in fact, breached the Settlement Agreement; and

       (2)     This matter is set for a Status Conference on July 5, 2018 at 10:00 a.m. to
               discuss Plaintiff’s request for discovery and an evidentiary hearing. On or before
               July 2, 2018, the Parties will meet and confer and file a Joint Status Report
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            addressing Plaintiff’s requested discovery and a proposed scope and procedure for
            an evidentiary hearing.


DATED: June 14, 2018




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